Case 1:09-cv-10416-RWZ Document 5 Filed 05/15/09 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

Mcl{earney Michael,
Plaintiff

VS.

FH Cann 85 Associates, Inc.,

Defendant

CO’JCUJGO§CO’JCUJCDJCUJ

Case 1 :OQ-cv-l 0416-RWZ

NOTICE OF DISMISSAL WITH PREJUDICE

TO THE HONORABLE UNITED STATES DISTRICT COURT:

Pursua_nt to Fed. R. Civ. P. 41, Michael McKearney, Plajntiff, hereby

Stipu]ates to and gives notice of the dismissal With prej dice of the above-entitled

and numbered action.

Respec ly s \. ted,

 

    
 
 

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1 0 /1‘ Street, Third Floor

A ORNEY FOR PLAINTIFF

